The plaintiff, John H. Cassidy, brought this suit against Daniel Rex Joseph, seeking to recover damages in the sum of $52,000 which he claims he suffered by certain libelous allegations made by the defendant in the suit entitled "Daniel Rex Joseph v. First State Bank  Trust Company and J.H. Cassidy," No. 7529 of the docket of the lower court. The defendant interposed the pleas of res adjudicata and estoppel based on a compromise agreement entered into between the parties whereby the prior suit was dismissed. The lower court sustained the plea of res adjudicata and dismissed the plaintiff's suit. He has appealed.
It appears that Daniel Rex Joseph entered into various transactions with the First State Bank  Trust Company and J.H. Cassidy which finally developed into a serious dispute. As an outgrowth of the dispute, Joseph brought suit against the bank and Cassidy attacking the transactions *Page 666 
wherein it was alleged that the bank and Cassidy were guilty of many wrongful acts with respect thereto. The allegations in the petition if untrue are of a libelous nature.
On September 9, 1938, Joseph, the bank and Cassidy entered into a compromise agreement settling their differences, and the suit was dismissed. It is stated in the compromise agreement: "Settle all claims between the First State Bank  J.H. Cassidy, D. Rex Joseph, Simon M. Levy Estate. Of any nature or kind whatsoever and dismiss all pending litigation."
The plaintiff contends that the only question in dispute at the time the compromise agreement was entered into was an alleged indebtedness growing out of the various transactions. He takes the position that it was never contemplated that the agreement should cover or settle any claim which he might have growing out of the libelous allegations in the petition.
We cannot agree with the position taken by the plaintiff for the reason that the allegations complained of are all made with reference to the various transactions which were disposed of in the compromise settlement. Moreover, the language used in the compromise settlement is broad and comprehensive and purports to settle all claims between the parties.
A compromise is a transaction or agreement between two or more persons to adjust their differences by mutual consent. Article 3071, Revised Civil Code.
Such transactions or compromises have the force of things adjudged. Article 3078, Revised Civil Code. *Page 667 
Also see: Misuraca v. Metropolitan Life Ins. Co., 199 La. 867,7 So.2d 167; Gregory v. Central Coal  Coke Corp., 197 La. 95,200 So. 832; Russ v. Union Oil Co., 113 La. 196, 36 So. 937.
For the reasons assigned, the judgment of the lower court is affirmed at appellant's cost.